Case: 1:98-cv-O7909 Document`#: 168 Filed: 11/10/99 Page 1 0f‘58 Page|D #i176'1""

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United Stat{ District_Court, Northern District of jnois

 

 

 

 

 

 

 

 

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an;r‘;\'laglstglr'late Jud ge Charles P Kocoras thangAsslggned Judge
CASE NUMBER 98 C 7909 DATE 1 1/10/1999
CASE NATHANIEL SHAPO VS. CLYDE WM. ENGLE, et al
'I`ITLE
[In the following box (a) indicate the party filing the motion, e.g., plaintiff defendant, 3rd party plaintiff`, and (b) state briefly the nature of
the motion being presented.]
MOTION:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DOCKET ENTRY:

(1) EI Filed motion of [ use listing in “Motion” box above.]

(2) E| Brief in support of motion due

(3) |I| Answer brief to motion due . Reply to answer brief due

(4) |I| Ruling/Heari ng on set for at

(5) Ei Status hearing[heldfcontinued to] [set for/re-set for] on set for at

(6) E| Pretrial conference[held/continued to] [set for/re-set for] on set for at .

(7) III Trial [set for/re-set for] on at

(8) |Il [Bench/July trial] [Hearing] held/continued to at

(9) [] This case is dismissed [withfwithout] prejudice and without costs[by/agreement/pursuant to]

|I| FRCP4(m) [J General Rule 21 [.'.l FRCP41(a)(i) L`_| FRCP41(a)(2).

(10) l [Other docket entry] ENTER MEMORANDUM OPINION: Defendants’ motions to dismiss are
granted in part and denied in part. Defendants are given to and including 12/7/99 in which to answer
amended complaint Status hearing set for 12/28/99 at 9:30a.m.

(1 1) l [For further detail see order attached to the original minute order.]

‘/ No notices required, advised in open court. Sj(

No notices required. hr\ .
number of notices

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATE_S DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

NATHANIEL S. SHAPO, Direetor of
Insurance of the State of Illinois, solely in his
his capacity as statutory and court-affirmed
Liquidator of Coronet Insurance Company,
Crown Casualty Company and National
Assurance Indemnity Company,

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Plaintiff,
vs.

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CLYDE WM. ENGLE; TIMOTHY LOWELL BROWN; )

LEE N. MORTENSON; HOWARD FRIEDMAN; )

EVERETT A. SISSON; ROBERT SPILLER; ) 98 C 7909

GLENN J. KENNEDY; R_ICHARD A. LEONARD; )

PAUL HOWARD ALBRITTON JR.; PETER HENRY )

BERGMAN; DAVID JOHN BLEARS; JOHN CHARLES )

RUSSELL; MICHAEL JOSEPH TUCKER; TELCO )

CAPITAL CORPORATION; RDIS CORPORATION; )

WISCONSIN REAL ESTATE INVESTMENT TRUST; )

HICKORY FURNITURE CORPORATION; INDIANA )

FINANCIAL INVESTORS, INC.; SUNSTATES )

CORPORATION; NORMANDY INSURANCE )

AGENCY, INC.; SEW SIMPLE SYSTEMS, INC.; )

SUNSTATES EQUITIES, INC.; SUNSTATES )

FINANCIAL SERVICES, INC.; ALBA-WALDENSIAN )

HOLDINGS COMPANY; RMHC (DELAWARE), )

INC., WELLCO HOLDINGS COMPANY; )

SUNSTATES REALTY GROUP, INC.; and )

SCHUYLER ROCHE & ZWIRNER, P.C., )

)
)

Defendants .

MEMORANDUM OPINION

 

CHARLES P. KOCORAS, District Judge:

ltd

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This matter comes\` \f_fore the Court on several rDe_fenda,nt;-/ notions to
dlsmiss. For the reasons set forth below, the Court denies the motions in part

and grants the motions in part.

BACKGROUND

The Court set forth the factual background of this case in previous decisions
in this matter. gee Shapo V. Engle, No. 98 C 7909, 1999 WL 446853 (N.D. Ill.
June 11, 1999) (Kocoras, J.) (denying certain Defendants’ motion for advancement
of expenses and costs); Shapo v. Engle, No. 98 C 7909, 1999 WL 528528 (N.D. Ill.
July 13, 1999) (Kocoras, J.) (dismissing Plaintiff’s Second Amended Complaint).
Although this motion comes before the Court on motions to dismiss Plaintiff’s third
amended complaint and various parts thereof, the alleged facts remain the same as
in the previous motions before this Court. The Court again recites below the full
factual background underlying this action, accepting as true the allegations in the

third amended complaint, which the Court is obligated to do.

A. Summary of the Case
Pursuant to § 191 of the Illinois Insurance Code, 215 ILL. COMP. STAT. ANN.
5/1, et seg., plaintiff Nathaniel S. Shapo ("the Liquidator"), the Director of

Insurance of the State of Illinois, in his capacity as the Liquidator of the Coronet

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Insurance Company ("C\r \{_net"), Crown Casualty Company/Clan Casualty")
and National Assurance Memmw Company ("NationalAssu\r`ajnce") (collectively
"the Insurance Companies"), brings this action against several individuals and
companies alleging, m al_i_a, the existence of a civil conspiracy in which the
Insurance Companies’ resources were "siphoned" off and used to fund the activities
of other businesses and certain individuals The alleged "mastermind" of the civil
conspiracy was Defendant Clyde Wm. Engle ("Engle"), the former Chairman of the
Board of the Insurance Companies and the former Vice President of Coronet. Engle
allegedly carried out the charged conspiracy with a group of individuals who
formerly served as directors of the Insurance Companies and other affiliated

businesses1

 

1 Glenn J. Kennedy, the Chief Financial Offlcer of Defendant Sunstates

Corporation and Richard A. Leonard, an officer and director of Defendant Sunstates
Corporation, are named as individual defendants The following group is referred
to as "the Director Defendants," as each served in the capacity listed below for one
or more of the Insurance Companies When those companies allegedly engaged in the
charged conspiracy: Paul Howard Albritton, Jr., who served as a director of the
Insurance Companies from at least 1990 until 1992; Peter Henry Bergman, who
served as a director of the Insurance Companies from at least 1990 until 1993 and
President of the Insurance Companies from at least 1990 until 1992; David John
Blears, who served as a director of the Insurance Companies from at least 1990 until
1991 and Vice President of Coronet from at least 1990 until 1991; Timothy Lowell
Brown, who served as a director, Chief Operating Offrcer and Vice President of the
Insurance Companjes from 1994 through December 1996; Lee N. Morten`son, who
served as a director of the Insurance Companies from 1990 through December 1996,
Vice President of the Insurance Companies from 1990 until 1993, President of the
Insurance Companies from 1993 through December 1996 and as a director of

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The Liquidator clai" s Engle, through his positions widi,`_,:") his control of,
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the Insurance Compames,§long with "his Control Group, " improperly diverted over

$70 million out of the Insurance Companies to or for the benefit of other Engle-

controlled businesses2 The conspiracy allegedly involved a series of illegal

 

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Defendant Sunstates Corporation and certain other defendant corporations; Howard
Friedman who served as a director of Coronet from 1991 through December 1996,
a director of National Assurance from 1993 through December 1996, a director of
Crown Casualty from 1994 through December 1996, a director and officer of certain
other defendant corporations and Assistant Secretary of the Insurance Companies;
John Charles Russell who served as a director and President of the Insurance
Companies from 1992 until 1993; Everett A. Sisson who served as a director of the
Insurance Companies from 1993 through 1996; Robert Spiller Who served as a
director of the Insurance Companies in 1996; and Michael Joseph Tucker who
served as a director of Crown Casualty from 1992 through 1993 and as Vice
President of the Insurance Companies from 1992 through 1994.

2 The Liquidator names as defendants the following "Parent Companies, "

businesses which Engle and "his control group" allegedly either controlled or
maintained a financial interest in and which allegedly benefitted from the charged
conspiracy: RDIS Corporation ("RDIS"), formerly known as Libco Corporation, a
Delaware corporation with its principal place of business in Illinois (Engle is and at
all relevant times was the controlling shareholder); Telco Capital Corporation
("Telco"), a Delaware corporation with its principal place of business in Illinois
(Engle is and at all relevant times was the controlling shareholder); Wisconsin Real
Estate Investment Trust ("Wisconsin Real Estate"), a Wisconsin trust with its
principal place of business in Illinois (at all relevant times, Engle was the controlling
shareholder); Hickory Furniture Company ("Hickory Furniture"), a Delaware
corporation with it principal place of business in North Carolina (Engle is and at all
relevant times was the controlling shareholder); Sunstates Corporation, formerly
known as Acton/Sunstates, ("Acton/Sunstates"), a Delaware corporation with its
principal place of business in North Carolina (Engle is and at all relevant times was
the controlling shareholder). The Liquidator also names as defendants Indiana
Financial Investors, Inc. ("Indiana Financial"), an Indiana corporation, and

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transactions by which Er‘ ‘e and others removed cash and o_the assets from the
Insurance Companies anifi/mproperly transferred the money between the Engle-
controlled Parent Companies (se_e note 2 gipr_a) and the Engle-controlled
Downstream Affiliates (se_e note 3 my The Liquidator alleges that, rather than
using the money to pay claims of the Insurance Companies’ policyholders, Engle

utilized the money to support his own personal and business interests.

B. Factual Background

Coronet, Crown Casualty and National Assurance are all Illinois-domiciled
insurance companies At all times relevant to this lawsuit, Coronet was, either
directly or indirectly, the 100% owner of Crown Casualty and National Assurance.
In approximately 1985, Engle was the Chairrnan of the Board, Chief Executive
Officer and controlling shareholder of Acton/Sunstates, now known as Sunstates
Corporation, a Delaware corporation with its principal place of business in North
Carolina. On April 1, 1985, Acton/Sunstates purchased all of the outstanding shares
of Normandy Insurance Agency, Inc. ("Norrnandy Insurance"), an Illinois insurance

corporation and the then-sole shareholder of Coronet. As a result of this purchase,

 

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Normandy Insurance Agency, Inc. ("Normandy Insurance"), an Illinois corporation,
which the Liquidator claims received either cash or other assets illegally diverted
from the Insurance Companies.

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Normandy Insurance bet_; `:e a wholly-owned subsidiary of Actc;/;Sunstates. The
Liquidator further allege§tfiat, from April 1, 1985 until Iate`\1996 or early 1997,
when the Insurance Companies were declared insolvent (see mfg), Engle
"dominated and controlled the affairs " of Normandy Insurance, Coronet, Crown
Casualty and National Assurance. After Acton/Sunstates purchased Normandy
Insurance, thereby gaining control over the Insurance Companies, Engle purportedly
caused Coronet to "form, purchase or otherwise obtain an ownership interest" in a
group of companies the Liquidator refers to as "the Downstream Affiliates."3

Certain of the "Downstream Affiliates are named defendants in this action. §ee note

4

3 supra.

 

3 The "Downstream Affiliates " include: Defendant Sew Simple Systeins,

Inc. ("Sew Simple"), a South Carolina corporation; Defendant Sunstates Equities,
Inc. ("Sunstates Equities"), formerly known as Coronet Equities, Inc., a Florida
corporation with its principal place of business in North Carolina; Defendant
Sunstates Financial Services, Inc. ("Sunstates Financial "), a Florida corporation with
its principal place of business in North Carolina; Pensacola Holding Corporation
("Pensacola Holding"), a Florida corporation; Coronet Financial Group, Inc.
("Coronet Financial "), a Florida corporation; Defendant Alba~Waldensian _Holdings
Company ("Alba Holdings"), an Illinois corporation; Defendant RMHC (Delaware),
Inc. ("RMHC"), a Delaware corporation, formerly known as Rocky Mountain
Holdings Company, an Illinois corporation; Defendant Wellco Holdings Company
( "Wellco Holdings "), an Illinois corporation; and Defendant Sunstates Realty Group,
Inc. ("Sunstates Realty"), a Florida corporation,

4 Also named as a Defendant is Schuyler Roche & Zwirner, P.C.

("Schuyler Roche"), a law firm with its principal place of business in Illinois. From
approximately July 1996 up to and including the date of the filing of the second
amended complaint (February 23, 1999), Defendant Howard Friedman (Le note 1

(continued. . .)

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The Liquidator alle s Engle and his Control Group domin`/\d the Boards of
Directors of the Insurance Companies and that Engle controlled the Parent
Companies that either directly or indirectly owned the Insurance Companies.
Through this domination, Engle and his Control Group allegedly prevented the
Insurance Companies from enforcing their rights against the Defendants to this
action. The Liquidator also claims, as set forth more fully below, that "Engle and
his Control Group operated the Insurance Companies in their own personal interests
and contrary to the best interests of the Insurance Companies" by diverting money
from the Insurance Companies to the Parent Companies and the Downstream
Affiliates.

The Court briefly summarizes below the transactions and other conduct the
Liquidator claims demonstrates the existence of an illegal conspiracy to divert
money from the Insurance Companies to Engle-controlled entities.

0 In 1991 and 1992, Engle, Glenn J. Kennedy,
Richard A. Leonard and the then-serving Director
Defendants allegedly caused $7,600,000 to be
transferred from Coronet to ActonfSunstates
through two Downstream Affiliates, Sunstates
Equities and Sunstates Financial. The payments

were ostensibly made to satisfy debts Sunstates
Equities and Sunstates Financial owed

 

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supra) has been a principal with Schuyler Roche. Also, Schulyer Roche has served
as counsel to the Insurance Companies at times relevant to this matter.

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Acton/“ ‘/nstates. The Liquidator claims the Uts

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v Between 1991 and 1995, the Insurance Companies
transferred approximately $50,000,000 to three
Downstream Affiliates, Sunstates Equities,
Sunstates Financial and Coronet Firiancial, who
thereafter transferred approximately $22,000,000 to
the Parent Companies, allegedly in satisfaction of
payables owed by them to the Parent Companies.
The Liquidator claims that the Insurance Companies
were the only source of cash for the Downstream
Affiliates involved and further claims that the
Downstream Affiliates could not have made the '
transfers to the Parent Companies without cash
from the Insurance Companies.

0 Between 1990 and 1995 , Engle, Kennedy, Leonard
and the then-serving Director Defendants caused
two Downstream Affiliates, Sunstates Equities and
Pensacola Holding, to pay over $6,000,000 in
"management fees " to various Parent Companies,
including Acton/Sunstates, Telco and Hickory
Furniture. The Liquidator claims that any money
paid by Sunstates Equities and Pensacola Holding
was, in reality, the Insurance Companies’ money
because neither Sunstates Equities nor Pensacola
Holding had any source of cash other than the
Insurance Companies. The Liquidator further
claims that the purported "managernent fees" paid
to the Parent Companies were unnecessary because
Coronet employees had the necessary skill and
experience to provide whatever management
services the Parent Companies provided Sunstates
Equities and Pensacola Holding.

- Between 1990 and 1995, Engle caused the

Insurance Companies and Sunstates Equities to
purchase over $24,000,000 of securities in certain

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Parent\' ’;lomp`anies, including Acton/Sunst `\s,
HickoUurmmre, Indiana Financial and W"\_/-.) sin
.Real Estate. Although the Insurance Companies
"directly" purchased only $3,400,_000 of these
securities the remaining $20,600,000 of securities
purchased by Sunstates Equities was made using
money the Insurance Companies transferred to
Sunstates Equities. The Liquidator alleges that,
prior to the securities purchases, the Parent
Companies were performing poorly and that the
cash -infusions allowed Engle and others to
"consolidate and maintain their control " over the
Parent Companies
For each of the above-listed transactions the Liquidator claims that the
transfers of money from one or more of the Insurance Companies ultimately to the
Engle-controlled Parent Companies Were in essence dividends and should have been
reported as such. The Liquidator further alleges that each of the above-listed
transfers was made at a time when, because of their reduced surplus and poor
operating results, the Insurance Companies could not have legally paid dividends
without the approval of the Illinois Department of Insurance. Finally, the Liquidator
claims that for each of the above~listed transactions one or more of the Insurance
Companies’ audited financial reports falsely reported that no dividends were paid
for the years of the respective transfers and falsely treated the transfers of money
from the Insurance Companies to certain Downstream Affiliates as investments in

affiliates rather than as dividends or distributions

The alleged conspiracy also involved the following activities:

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0 In 19” ‘;, certain of Coronet’__s_r :`;wholly-o\' \ed
subsiUes were caused to borrow '$10,-` ` , 00
from LaSalle National Bank. This loan was
allegedly secured by stock in three publicly-traded
companies The Liquidator claims that in
December 1995, Engle caused the loan to be
renewed in the amount of $ 12,500,000, still secured
by the publicly-traded companies’ stock, and
thereafter, in February 1996, Kennedy directed
$3,000,000 of the renewed loan proceeds to be
distributed to Sunstates Financial. The Liquidator
also alleges that Kennedy further ordered the
$3,000,000 to be paid by Sunstates Financial back
to Coronet as a reduction in principal in Sunstates
Financial bonds held by Coronet. The Liquidator
claims that the net result of these transactions was
that Coronet subsidiaries pledged their assets as
security on loan proceeds that were ultimately used
to repay Sunstates Financial’s preexisting financial
obligations to Coronet.

¢ Between February 1993 and December 1994, Engle
caused Coronet and two Downstream Affiliates,
Sunstates Equities and Coronet Financial, to
purchase at least $2,200,000 worth of artwork,
jewelry and other collectibles, including rare books
and oriental rugs These items were allegedly
billed to Coronet, but maintained and utilized by
Engle and his wife at their personal residence. The
Liquidator claims that Sunstates Equities and
Coronet Financial had few sources of cash other
than the Insurance Companies and that Engle used
the Insurance Companies’ money to purchase the
luxury items noted above.

- In November 1996, Engle, Kennedy and the then-
Boards of Directors of the Insurance Companies
conspired to strip Coronet of its assets in
anticipation of the Illinois Department of Insurance

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placing '}_e Insurance Companies__i_n conserva" 'n.
These L/‘\ons, which allegedly took place Lj?e/en
November 4 and 29, 1996, came in response to
letters and Corrective Orders from the Illinois
Department of Insurance in which the department
expressed concern over the Insurance Companies’
relationships with other EngIe-controlled
companies Included in these correspondence was
a January 23, 1996 letter ("the January 23 Letter"),
in which Illinois Department of Insurance regulators
ordered the Insurance Companies to notify them, on
a monthly basis of all sales and purchases of
investments by the Insurance Companies The
Liquidator further claims that Kennedy sought to
"disguise the illegality" of several transactions
between the Insurance Companies and other Engle-
controlled entities by back-dating the effective date
of those transactions Finally, the Liquidator
alleges that Engle, Kennedy and the then-Boards of
Directors of the Insurance Companies devised a
"Disaster Plan" that they would carry out should it
become clear that the Illinois Department of
Insurance was going to place the Insurance
Companies in conservation

¢ The Liquidator alleges that, consistent with the
"Disaster Plan" noted above, Engle and the then-
Boards of Directors of the Insurance Companies
caused Coronet to surrender $6,427,296.25 in
bonds and preferred stock of Sunstates Equities,
Sunstates Financial, Alba Holdings and RMHC.
The Liquidator claims Coronet received nothing in
return and recorded the transactions as
"contributions to paid-in capital " of those
companies Finally, the Liquidator asserts that the
so-called contributions were not reported to
insurance regulators as required by applicable
administrative orders

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v The _Li '}idator alleges that, prior to Noveml" ~6,

1996,\ 'F Insurance Companies owned L/%/of
certain\]§ wnstream Affiliates, namely, Sunstates
Equities, Sunstates Financial, RMHC, Wellco
Holdings and Alba Holdings The Liquidator
further alleges that on November 6, 1996,
approximately three weeks after the Illinois
Department of Insurance issued Corrective Order
No. 96-02, which prohibited disbursements or
transactions between any of the Insurance
Companies and any other Engle-controlled
company, Engle and his control group caused
Sunstates Equities, Sunstates Financial, RMHC,
Wellco Holdings and Alba Holdings to issue
additional common stock to other Engle-controlled
companies so as to reduce the Insurance
Companies’ interests in the involved Downstream
Affiliates5

0 _ The Liquidator alleges that prior to June 30, 1996,
the Insurance Companies owned bonds issued by
Sunstates Equities and Sunstates Financial and that

 

5 The Liquidator alleges that the Insurance Companies’ interests in

certain of the Downstream Affiliates have been reduced, as follows: Acton/Sunstates
purports to own 58.5 % of Sunstates Equities and contends that the ownership
interests of Coronet, National Assurance and Crown Casualty in Sunstates Equities
have been reduced to 6.4 %, 28.7% and 6.4 % respectively; Sew Simple purports to
own 59% of Sunstates Financial and contends that the ownership interests of
Coronet, National Assurance and Crown Casualty in Sunstates Financial have been
reduced to 22.6 % , 14.7 % and 3.7 % respectively; Wellco Holdings purports to own
51 .4 % and Sew Simple purports to own 38.7 % of RMHC and both contend that the
ownership interests of Coronet, National Assurance and Crown Casualty i_n RMHC
have been reduced to 7.8%, 1.2% and 0.9% respectively; Sew Simple purports to
own 90% of Wellco Holdings and contends that Coronet’s ownership interest has
been reduced to '10%; and Sew Simple purports to own 8.8%, Sunstates Equities
purports to own 1% and Rocky Mountain purports to own 70.2% of Alba Holdings
and the three companies contend that Coronet’s ownership interest has been reduced
to 20 %.

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in Jul; 1996, certain "Defend_an_ts," inclu"“ig
LeonaUnd Mortenson, caused $1,156;_/3'/0f
those bonds to "be surrendered without any
consideration as ‘capital contribution’ to the
issuers " The Liquidator further alleges that, also
in July 1996, certain "[D]efendants" caused an
additional $991,293 of the same bonds to be
redeemed in exchange for other bonds issued by
Sunstates Equities and Sunstates Financial, which in
turn were replaced by shares of those companies’
common stock. Finally, the Liquidator claims that
the Insurance Companies did not report the so-
called "capital contributions " as required by the
January 23 Letter.

0 The Liquidator alleges that prior to June 30, 1996,
Crown Casualty and National Assurance owned
preferred stock in Sunstates Equities and Sunstates
Financial and that on or about July 31, 1996, Engle
caused Crown Casualty and National Assurance to
"surrender" approximately $343,998 worth of such
preferred stock, without receiving any consideration
in return. The Liquidator further alleges that the
"surrenders" were not reported to the Illinois
Department of Insurance as required by the January
23 Letter.

v The Liquidator claims that, at all times relevant to
this lawsuit, the Insurance Companies owned The
Springs, Inc., an entity which owned The Springs
Resort, a golf course and hotel resort in Wisconsin,
and at least 73 undeveloped residential lots adjacent
to the Springs Resort, with a market value of
approximately $4.8 million. The Liquidator further
alleges that on November 14, 1996, "Engle and his
control group " caused The Springs, Inc. to transfer
65 of the undeveloped lots to Sunstates Realty and
Sew Simple, purportedly as cancellation of an inter-
company debt in the amount of $2,533,847.

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Finall‘ the Liquidator claims that, as a resi' ' ,of
this trr\/er, the Insurance Compames lost \_/`i”iaf)le
real estate without obtaining reasonably equivalent
value' in exchange (or may not have received any
value at all).

C. The Liquidation of the Insurance Companies

In late 1996 and early 1997, each of the Insurance Companies was declared
insolvent and ordered into liquidation by the Circuit Court of Cook County, Illinois,
as follows: Coronet on December 24, 1996; Crown Casualty on January 31, 1997;
and National Assurance on January 3, 1997 (collectively "the Liquidation Orders").
The Coronet liquidation is currently proceeding in the Circuit Court of Cook
County, Illinois, Chancery Division, under the caption In the Matter of the
Liquidation of Coronet Insurance Coi_npamy, 96 CH 13422.

The Coronet Liquidation Order appoints the Director of Insurance of the State
of Illinois as Liquidator of Coronet, vests in him "title to all property, assets,
contracts and rights of action of“ Coronet, and authorizes him "to deal with the
property, assets business and affairs of Coronet, and to sue and defend for Coronet,
or for the benefit of Coronet’s policyholders and creditors in the courts in his name
as the Liquidator or in the name of Coronet." The Liquidator claims that

policyholders and creditors of the Insurance Companies have filed "thousands of

claims" against the Insurance Companies’ estates and that he is "marshaling assets

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and determining the meri: ;»f the claims pursuant to the procedu;/ set forth in the

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[Illinois] Insurance Code and the Liquidation Order[s]. "

D. Shapo’s Third Amended Compiaint

After this Court dismissed Shapo’s second amended complaint, Shapo, solely
in his capacity as statutory and court-affirmed Liquidator of the Insurance
Companies filed a twelve count third amended complaint against Engle, Kennedy,
Leonard, the Director Defendants (s_ee note 1 s_upr_a), the Parent Companies (Y§
note 2 s_wm), the Downstream Affiliates (Ye_ note 3 s_ulm), and Schuyler Roche
(s_ee note 4 Lp_rg). Shapo brings the third amended complaint solely on behalf of
and for the benefit of the Insurance Companies In total, the Liquidator seeks from
Defendants over $70 million in actual damages together with treble damages under
the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §1961, Lsgp
("RICO"), attorneys’ fees and punitive damages

Counts I and II of the Liquidator’s third amended complaint allege violations
of RICO. Specifically, Count I asserts that Engle, Kennedy, Leonard, Mortenson,
Friedman, and the Parent Companies (other than Acton/Sunstates) (collectively, the
"RICO persons "), through their association with Acton/Sunstates and/or Coronet,
violated §1962(¢) of RICO by engaging in a pattern of racketeering activity, in

violation of federal law, including, but not limited to, "a scheme to defraud Coronet

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by looting cash and other\' sets of the Insurance Companies that `:}ould have been
used to pay policyholder ciaims" and a scheme "to deceive insurance regulators and
others by concealing and misrepresenting material facts from them about the
looting" of cash and other assets of the Insurance Companies The Count I named
Defendants allegedly made the misrepresentations in Annual Statements filed with
the Illinois Department of Insurance, as well as invoices Holding Company
Registration Statements and memos certain of which were allegedly sent using the
mails private or commercial carriers and wires

Count II alleges that Engle, Kennedy, Leonard, Friedman, the Parent
Companies (other than Acton/Sunstates), and the Director Defendants conspired to
participate in the above described illegal conduct through a pattern of racketeering
activity. The Liquidator claims that the Director Defendants "facilitated the illegal
schemes by, at least, knowingly approving or ratifying one or more of the illegal
transactions that occurred during the period of his directorship. "

Count III alleges that Engle and the Director Defendants breached their
fiduciary duties to the Insurance Companies and their respective policyholders by,
m a_li_a, devising and directing the above described transactions while knowing that
such transactions were contrary to the interests of the Insurance Companies and their

policyholders approving or ratifying such illegal transactions and failing to

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properly investigate whet{ 'J such transactions were in the interes‘tw\f the Insurance
Companies and their poli§)?fiolders. U

Count IV and V allege claims against Schuyler Roche and Friedman for
malpractice and breach of the attorneys’ duty of loyalty.

In Count VI, Shapo alleges that Kennedy, Leonard, and each of the Director
Defendants knowingly participated in the plan, masterminded by Engle, to loot the
Insurance Companies of their cash and other assets by, ing _ali_a: "approving,
executing or otherwise assisting with many of the documents prepared in connection
with the illegal transactions" described above; permitting and "condoning" the entry
of misleading information about the illegal transactions into the Insurance
Companies’ records; permitting and "condoning" the falsification of the transactions
described above in the Insurance Companies’ records and in materials filed with the
Illinois Department of Insurance; and "approving, ratifying or otherwise assisting
with" each of the illegal transactions described above.

Count VII alleges that Engle’s transfer of approximately $2.2 million worth
of Coronet-owned artwork, jewelry and other collectibles including rare books and
oriental antiques to himself and his wife constituted conversion of these items and
injured Coronet and its policyholders

Count VIII asserts that Engle, Kennedy, Leonard, the Parent Companies the

Downstream Affiliates, and the Director Defendants engaged in a civil conspiracy

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by agreeing and combini`n\;jfor the purpose of accomplishingv~<lncerted action
an unlawful purpose. " Shapo also claims that the Count VIII named defendants
"committed multiple tortious acts over many years consisting of looting and
conversion of cash and other assets of the Insurance Companies "

Count IX- alleges that Engle, Kennedy, Leonard, Brown, Mortenson,
Friedman, Sisson, Spiller, Action/Sunstates Sunstates Equities Sunstates Financial,
Sew Simple, Wellco Holdings RMHC, Alba Holdings and Sunstates Realty violated
certain provisions of the Corrective Orders issued by the Illinois Department of
Insurance in October 1995 and October 1996, and violated the Illinois Insurance
Holding Company Systems Act, 215 ILL. COMP. STAT. ANN. 5/131.1, otis (West
1994), through certain acts specified in the third amended complaint, that allegedly
"rendered the Insurance Companies’ surplus as regards policyholders unreasonable
in relation to the Insurance Companies’ outstanding liabilities and inadequate to their
financial needs "

Count X seeks a declaratory judgment establishing the Insurance Companies’
respective interests in certain Downstream Affiliates, as set forth more fully above.
§_e_e note 5 si_pr_a. Count XI seeks an order requiring Sunstates Equities Sunstates
Financial, RMHC, Wellco Holdings and Alba Holdings to provide the Liquidator
with a full and complete accounting of their respective financial condition and

operations including, but not limited to, all transactions that purport to have

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diminished the InsurancUompanies’ respective ownershi\:¢aerests in each
company.

Finally, Count XII seeks an order finding Acton/Sunstates, Sunstates Equities
Sunstates Financial, Sew Simple, Wellco Holdings RMHC, Sunstates Realty and
Alba Holdings through their participation in certain transactions set forth in the
third amended complaint, violated the Uniform Fraudulent Transfer Act, 740 ILL.
COMP. STAT. ANN. 160/1, _e_tM. Shapo also seeks an order voiding the specified
transactions and restoring the Insurance Companies’ respective interests in certain

companies to the levels prior to the challenged transactions

E. The Present Motions to Dismiss

The Court presently considers the following two motions: (1) Engle’s motion
to dismiss the third amended complaint, which specifically attacks the Liquidator’s
Count land II RICO claims and incorporates fully the memorandum and arguments
of Certain Former Directors Officers, and Corporate Defendants in support of their
motion to dismiss Counts I-III, VI, and VIII-XII, and; (2) the motion of Mortenson,
Sisson, Spiller, Kennedy, Leonard, Albritton, Telco, RDIS, Hickory Furniture,
Indiana Financial, Acton/Sunstates Normandy Insurance, Sew Simple, Sunstates
Equities Sunstates Financial, Alba Holdings RMHC, and Wellco Holdings

Sunstates Realty ("Certain Former Directors Officers, and Corporate Defendants"

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and collectively, the "Grol\j’[)efendants..) to dismiss Counts Lsz and VHI_XIL

Before addressing the motions to dismiss the Court sets forth the legal standard

guiding the evaluation of the claims

LEGAL STANDARD

The purpose of a motion to dismiss pursuant to Rule 12(b)(6) is to test the
sufficiency of the complaint, not to decide the merits of the case. A defendant must
meet a high standard in order to have a complaint dismissed for failure to state a
claim upon which relief may be granted. In ruling on a motion to dismiss the court
must construe the complaint’s allegations in the light most favorable to the plaintiff
and all well-pleaded facts and allegations in the plaintiffs complaint must be taken
as true. Bontkowski v. First Nat’l Bank of Cicero, 998 F.2d 459, 461 _(7th Cir.
1993), cert. denied, 510 U.S. 1012, 126 L.Ed.2d 567, 114 S.Ct. 602 (1993). The
allegations of a complaint should not be dismissed for failure to state a claim "unless
it appears beyond a doubt that the plaintiff can prove no set of facts in support of his
claim which would entitle him to relief. " Conley v. Gibson, 355 U.S. 41, 45-46,
2 L.Ed.2d 80, 78 S.Ct. 99 (1957). Nonetheless in order to withstand a motion to
dismiss a complaint must allege facts sufficiently setting forth the essential elements

of the cause of action. Lucien v. Preiner, 967 F.2d 1166, 1168 (7th Cir. 1992),

 

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eeri. denies 506 U.s. 8'9`; '121 L.Ed.2d 196, 113 s.t"jt. 267;,,2`). with these
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principles in mind, the Court evaluates Defendants’ motions

DISCUSSION

I. Engle’s Motion to Dismiss the RICO Counts I and H

Engle argues that the RICO Count I claim brought under §1962(0) and the
RICO Count II claim brought under §1962(d) and based upon a purported
conspiracy to violate §1962(0) should be dismissed because there is no viable RICO
enterprise Specifically, Engle argues: (1) Shapo’s primary theory that Coronet
constituted the RlCO enterprise fails to allege an enterprise that is distinct from the
victim; (2) Shapo’s alternative theories that Acton/Sunstates or a putative
"association-in-fact" constitute other RICO enterprises are unsupported by the third
amended complaint and fail to allege an enterprise distinct from the RICO person;
and (3) Shapo’s RICO claims are preempted by state insurance law pursuant to the
McCarran- Ferguson Act.

In order to state a claim under RICO, Shapo must allege that a person is
(1) employed by or associated with (2) an enterprise (3) engaged in or affecting
interstate commerce, (4)` where that person conducts or participates in a pattern of

racketeering activity. See, e.g., U.S. v. Palumbo Brothers Inc., 145 F.3d 850, 867

 

(7th Cir. 1998).
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A. Enterprise as \\jtim \`/

Engle argues that Shapo’s RICO claims are flawed because Shapo names
Coronet as both the enterprise and the victim, Engle claims that the RICO counts
should be dismissed because an enterprise cannot also be a victim for purposes of
§1962(c) claims and §1962(d) claims based thereon. Shapo, however, contends that
an enterprise is not precluded from also being the victim, and so, he has properly
laid out claims under §§1962(c) and (d).

The caselaw is unsettled on this issue. The Seventh Circuit in U.S. v. Kovic,
684 F.2d 512 (7th Cir. 1982), cert. denied, 459 U.S. 972, 74 L.Ed.2d 284, 103
S.Ct. 304 (1982), has previously held that an enterprise may be a victim for
purposes of §1962(0). §§ id. at 517. However, the United States Supreme Court
may have been questioning this proposition without overruling it When it said in
National Organization for Women, Inc. v. Scheidler, 510 U.S. 249, 259, 127
L.Ed.2d 99, 114.S.Ct. 798, 804 (1994), "the ‘enterprise’ in subsection (c) connotes
generally the vehicle through which the unlawful pattern of racketeering activity is
committed, rather than the victim of that activity. " lc_l. The Supreme Court,
nevertheless noted without disapproval a commentator’s conclusion that an

enterprise may be a victim, gag i_d_., citing Blakey, The RICO Civil Fraud Action

 

in Context: Reflections on Bennet v. Berg, 58 NOTRE DAME L. REV. 237, 307-325

(1982).
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In light of the Suprew Court s statement, the Seventh Ci\_/»fn LaS_alle Bank
Lake View v. Seguban, 54 F.3d 387, 393 (7th Cir. 1995), questioned whether Kovic

still controlled, but did not intimate that Scheidler prescribed a reversal of Kovic.

 

On remand to the Northern District of Illinois the district court held that the
Supreme Court’s decision in Scheidler did not prohibit an enterprise from also being
a victim under §1962(¢). §_e_e LaSalIe Bank Lake View v. Seguban, 937 F. Supp.
1309, 1323 (N.D. Ill. 1996) (Norgle, J.) [hereinafter Seguban II|. In reaching this
conclusion, the district court rejected a Third Circuit decision which interpreted
Scheidler as prohibiting an enterprise from being a victim for purposes of §1962(0).
§te_e ic_l.; J_aguar Cars Inc. v. Royal Oaks Motor Car Co.. Inc., 46 F.3d 258, 267 (3d
Cir. 1995). The court in Seguban II refused to make the "leap of logic" that the
Supreme Court’s statement that "generally" an "enterprise " is not a victim, dictated
the conclusion that an enterprise "cannot" be a victim, §_e_e Seguban II, 46 F.3d at

1323. Likewise, in Hewitt Associates v. Zerba, No. 96 C 2428, 1996 U.S. Dist.

 

LEXIS 18206 (N.D. Ill. Nov. 25, 1996) (Conlon, J.), another court in this district

held that the Supreme Court’s decision in Scheidler did not mandate a reversal of

 

Kovic’s holding that an enterprise may be a victim, w Hewitt Associates 1996
U.S. Dist. LEXIS 18206, at *14.
This Court agrees with the other courts in this district. The Supreme Court

made its statement in Scheidler in the context of discussing whether an enterprise

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nee s o have an economi \_/.0 ive or §1962(c) purposes See d er 0 U S
at 804. This Court does not conclude that the Supreme Court, by stating in the
circumstances of the Scheidler discussion that generally an enterprise is not a victim,
intended to foreclose the possibility that an enterprise may be a victim under

§1962(c). See also Hansel ‘n Gretel Brand, Inc. v. Savitsky, No. 94 Civ. 4027,
1997 WL 543088, at * 3 (S.D.N.Y. Sept. 3, 1997) (the language of Scheidler was

 

not intended to prescribe a blanket rule). Consequently, Shapo’s RICO claims do
not fail inasmuch as they name Coronet as both the enterprise and the victim, and

the Court denies Engle’s motion to dismiss on this basis

B. Sunstates or an Association-in-Fact as an Enterprise
Engle next attacks Shapo’s alternate RICO theories as failing to establish
viable RICO enterprises because the proposed enterprises either were not alleged to

have been conducted through a pattern of racketeering or are not distinct from the

RICO person.

1. Acton/Sunstates as an Enterprise
Engle argues that ActonfSunstates cannot be a proper enterprise because none
of the alleged predicate acts of racketeering are alleged to have been made through

Acton/Sunstates. Rather, according to Engle, the RICO persons allegedly
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committed all the predicaf cts through Coronet, and these pr€\:.,¢é acts cannot be
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attributed to Acton/Sunstates merely because it is a parent company of Coronet.
Engle does not contend that ActonfSunstates cannot be an enterprise per se, but that
in this action Acton/Sunstates is not an enterprise through which predicate acts of
racketeering were conducted The Court agrees

Once a claimant adequately identifies an enterprise, the claimant must also
establish that the RICO persons associated With the enterprise conducted or
participated, directly or indirectly, in the conduct of such enterprises affairs through
a pattern of racketeering activity. See Richmond v. Nationwide Cassel L.P., 52
13.3d 640, 646 (7th Cir. 1995). Nevertheless, Shapo nowhere alleges any predicate
acts of racketeering activity apart from those committed by the RICO persons in
their association with Coronet. Shapo seems to mention Acton/Sunstates as a
possible enterprise because the RICO persons are associated with it and as a
corporation Acton/Sunstates is eligible to be an enterprise. Shapo alleges that
receipt of allegedly illicit cash from the Insurance Companies and causing
subsidiaries to file financial statements Which concealed those cash receipts is
sufficient to permit RICO enterprise status Affirmative acts of mail and wire fraud
participation are not ascribed to Acton/Sunstates. Shapo’s focus is on the RICO

persons conduct_of the Insurance Companies’ affairs and not on Acton/Sunstates

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The third amended compl‘\j~t is legally insufficient to attributwrise status to

Acton/Sunstates

2. The Association-in-Fact Enterprise

Engle claims that an association-in-fact comprised of Engle, Kennedy,
Leonard, Mortenson, Friedman, Acton/Sunstates, the Parent Companies and the
Downstream Affiliates (the "Association-In-Fact"), cannot be a viable enterprise
because it is notldistinctfrom the RICO persons and because none of the alleged
predicate acts of racketeering are alleged to have been made through it.

For the same reason that Acton/Sunstates is not a proper enterprise in this
RICO action, the Association-In-Fact also fails to qualify as a proper enterprise.
Shapo does not allege facts demonstrating that the RICO persons conducted or
participated in the conduct of the affairs of the Association-In-Fact through a pattern
of racketeering activity. Rather, Shapo only alleges facts illustrating that the RICO
persons engaged in a mail and wire fraud in the conduct of the affairs of the
Insurance Companies and not of the Association~In-Fact, which does not include
the Insurance Companies Consequently, the Association-In-Fact is not a proper

enterprise in this RICO action.

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C. McCarran-Fer"}\j'on Act Preemption ;'//

Engle argues that Shapo cannot bring his RICO claims because the McCarran-
Ferguson Act precludes application of a federal law when it would "invalidate,
impair, or supersede“ any state law regulating the business of insurance. Shapo
claims that the application of RICO to this action does not frustrate any state law
regulating insurance, and so, the McCarran-Ferguson Act would not prevent the
application of RICO to this action.

The McCarran-Ferguson Act provides in relevant part, "No Act of Congress
shall be construed to invalidate, impair, or supersede any law enacted by any State
for the purpose of regulating the business of insurance, unless such Act
specifically relates to the business of insurance. " 15 U.S.C. §1012(b). Two recent
decisions interpreting the McCarran-Perguson Act guide the Court’s analysis in
determining that the McCarran-Ferguson Act is inapplicable to this action.

In Autry v. Northwest Premium Services. Inc., 144 F.3d 1037 (7th Cir.
1998), the Seventh Circuit set out a three part test, consisting of three inquiries to
evaluate a preemption claim under the McCarran-Ferguson Act. w id at 1042.

The three part test requires the following three inquiries: (1) Does the

federal statute at issue " specifically relate to the business of insurance "?

If so, the standard preemption rules apply and the federal statute is

applied. If the federal statute does not "specifically relate to the

business of insurance," a court must ask (2) whether the state statute

was "enacted for the purpose of regulating the business of
insurance.-" If the state law was not enacted for this purpose, then the

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court’s inquiry end~ ";.If, _however, the state statute wa nacted, a
court must proceed o/ determine (3) whether application of the federal
statute would "invalidate, impair or supersede" the state law. If the
federal statute would have one of these effect, then it may not be applied
in the face of the state law. On the other hand, if the federal statute
would not "invalidate, impair, or supersede" state law, then the federal
statute may be applied. Ld.

Thus, the Court begins its analysis by asking whether RICO specifically relates to
the business of insurance. RICO is not a law that specifically relates to the business
of insurance. §_e_e Hurnana Inc. v. Forsyth, 525 U.S. 299, 142 L.Ed.2d753, 119
S.Ct. 710, 717 (1999). So, the court advances to the second question and asks
whether the state statute in issue was enacted "for the purpose of regulating the
business of insurance. "

Engle alleges that the specific Illinois insurance law frustrated by RICO is
§131.25(a) of the Illinois Insurance Code, entitled "Recovery upon order of
liquidation or rehabilitation of domestic insurer," 215 ILL. COMP. STAT. ANN.
5/131.25(a). Section 131.25(a) provides:

...the receiver shall have the right subject to the limitations set forth in

subsections (b) and (c) of this Section to recover on behalf of the

insurer any or all of the following made during the 3 years before the

filing of the petition for liquidation, conservation, or rehabilitation:

(1) From any parent corporation, holding company, person, or affiliate

who otherwise controlled the insurer, the amount of distributions other

than distributions of shares of the same class paid by the insurer on its

capital stock.

(2) From any director, officer, or employee, the amount of any
payment in the form of a bonus termination, settlement, or

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extraordinary lump "m salary adjustment made by th¢;"/ri'er or a
Subsidiary. 215 ILL¥éOMP. STAT. ANN. 5/131.25(&). *""

In determining whether this statute was enacted for the purpose of regulating the
business of insurance, the court looks to see if it is a law "aimed at protecting or
regulating [the] relationship [between insurer and insured], directly or indirectly. "
&e_e _AMtg, 144 F.3d at 1044, gmig SEC v. National Sec.. Inc., 393 U.S. 453,
460, 21 L.Ed.2d 668, 89 S.Ct. 564 (1969). The core of the "business of insurance "
is "the relationship between insurer and insured, the type of policy which could be
issued, its reliability, interpretation and enforcemen ." ;A_utgg, 144 F.3d at 1044,
guo_tipg National Sec., 393 U.S. at 460.
` With this in mind, the Court concludes that §131.25(a) is not a statute enacted
"for the purpose of regulating the business of insurance." Section 131.25(a)
addresses the relationship between the receiver administering a liquidation order and
any parent corporation,l holding company, person, or affiliate who otherwise
controlled the insurer and any director, officer, or employee of the insurer. M 215
ILL. COMP. STAT. ANN. 5/131.25(a). Section 131.25(a) does not address the
relationship between the insurance company and a policyholder. §§ id.; M
M, 144 F.3d at 1044.
The proper inquiry is whether §131.25(a) was "enacted for the purpose of

regulating the business of insurance," and "not whether the activity the statute

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regulates may properly be Visidered the ‘business of insurance_, `i(utry, 144 F.3d

at 1045. As in w where the court determined that the Illinois law was not
enacted for the purpose of regulating the business of insurance, §131.25(a) may
"serve to protect someone who happens to be an ‘insured,’ but it does not protect
that person in his capacity as a party to a contract of insurance." S_ee M, 144
F.3d at 1044. Rather, §131.25(a) regulates a receiver’s right to recover certain
distributions on capital stock, bonuses termination settlements and lump sum salary
adjustments on behalf of the insurer after an entry of an order for liquidation or
rehabilitation §§ 215 ILL. COMP. STAT. ANN. 5/131.25(a).

Because §131.25(a) "does not possess an end, intention, or aim of directing,
managing, or controlling the relationship between the insurance company and the
policyholder," the Court concludes that it was not enacted "for the purpose of
regulating the business of insurance. Ill. Thus, the McCarran-Ferguson Act is
inapplicable to this action and does not preclude the application of RICO.

Alternatively, even if §131.25(a) were enacted "for the purpose of regulating
the business of insurance," RICO does not "invalidate, impair or supersede " the
Illinois insurance law. In Humana Inc. v. Forsyth, the United States Supreme Court
recently interpreted the McCarran-Ferguson Act to hold that “when federal law does

not directly conflict with state regulation, and when application of the federal law

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would not frustrate any\jeclared state policy or interfe_./"vjvith a State’s
administrative regime, the McCarran-Ferguson Act does not preclude its
application." Humana , 119 S.Ct. at 717.

In the instant case, RICO does not directly conflict with §131.25(a). RICO
protects against injury from racketeering activity, including mail and wire fraud,
whereas §131.25(a) allows a receiver of a liquidated insurance company to recover
certain distributions paid on the insurer’s capital stock or recover for certain bonus
termination settlement, or lump sum salary adjustment payments Section 131.25(a)
says nothing about the receiver’s ability to recover under other legal theories nor
does it preclude such recovery. Further, the Illinois Insurance Code contemplates
that a liquidator will pursue actions based on laws outside of the Illinois Insurance
Code. _S_Y 215 ILL. COMP. STAT. ANN. 5/193. Section 131.25(a) merely provides
for one specific form of recovery in situations where an insurance company has been
liquidated. It seems that lRICO is compatible with §131.25(a) and complements and

enhances the Illinois law rather than frustrating it. See also Humana, 119 S.Ct. at

 

 

7 14.
Because RICO does not conflict with or frustrate §131.25(a), the McCarran-

Ferguson Act is for this additional reason, inapplicable to this action as a bar to

RICO claims

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II. Group Defendants’ l\/}tion to Dismiss \J"j

The -Group Defendants move to dismiss Counts I-III, VI, and VIII-XII of the
third amended complaint, alleging that: Shapo fails to meet the requirements of
Federal Rules of Civil Procedure 8(a) and 9(b); that Shapo’s RICO claims must fail
for lack of a viable enterprise and because no predicate acts of racketeering, no
pattern of racketeering, and no conspiracy has been adequately alleged; that Shapo’s
RICO claims are pre-empted by the McCarran-Ferguson Act; that Shapo has failed
to adequately assert damages and; that the pendant state claims fail to adequately

allege claims

A. Failure to Meet the Requirements of Rules 8(a) or 9(b)

The Group Defendants claim that Shapo has neither established any
misconduct by them nor stated his RICO claims with particularity as required by
Federal Rules of Civil Procedure 8(a) and 9(b). Shapo maintains that he has met all
of the pleading requirements

Shapo’s RICO claims are predicated on acts of mail and wire fraud committed
in the conduct of the Insurance Companies Allegations of fraudulent acts in RICO

actions must meet the notice pleading requirement of Rule 8(a) and the particularity

requirement of Rule 9(b). See, e.g., P&P Marketing, Inc. v. Ditton, 746 F. Supp.

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1354, 1361 (N.D. Ill. 199\_/l In order to state a sufficient claii\_/dé claimant must
merely provide a general outline of the alleged fraud scheme, which is sufficient to

reasonably notify the defendants of their purported role in the scheme. S e

Pelfresne v. Village of Rosemont, 22 F. Supp.2d 756, 763 (N.D. Ill. 1998).

However, the allegations of fraud must consist of facts describing the time, place,
and contents of the false representations and the full nature of the transaction and
scheme to defraud, including the identities of the persons making the representation
and the manner of the communication S_e_e P&P Marketing, 746 F. Supp. at 1361.
It is unnecessary for the claimant to allege evidentiary details that he will employ to
support the fraud claim at a later date. §e§ Banowitz v. State Exchange Bank, 600
F. Supp 1466, 1469 (N.D. Ill. 1985). Where there are multiple defendants the
complaint must notify each defendant of the specific act purportedly committed by
the defendant, which justifies that defendant’s inclusion in the particular count. _S_Y
P&P Marketing,‘ 746 F. Supp. at 1362. Nevertheless where the named defendants
are corporate insiders or control the actions of an entity, this requirement may be
relaxed, especially when the defendants are in a better position to know the extent
of each defendant’s participation in the complained conduct. §§ i_d. In such
situations a complaint may be sufficient if it describes the fraudulent acts and

provides the individuals with adequate information to answer the allegations _SE

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Banowitz, 600 F. Supp. and/69 Moreover, to properly allege\._.afdefendants were
engaged in acts to defraud, the claimant must allege that defendants were involved
in the "deprivation of something of value by trick, deceit, chicane, or overreaching "
U.S. v. Altman, 48 F.3d 96, 102 (1995).

Certain former directors Officers Parent Companies and Downstream
Affiliates comprise the Group Defendants in this motion to dismiss However,
Shapo’s claims do not equally implicate them and do not apply to each of them in
the same way. As such, the Court will first address the claims against the Parent
Companies and Downstream Affiliates, and then proceed separately to each fraud

allegation attacked as it applies to the Former Directors and Officers.

1. Parent Companies and Downstream Affiliates
Shapo alleges that the Parent Companies and Downstream Affiliates
participated in the fraudulent acts of the RICO persons Shapo claims that certain
directors and officers transferred cash and assets of the Insurance Companies to
various Parent Companies or Downstream Affiliates and then caused the
Downstream affiliates to sometimes transfer cash and assets received from the

Insurance Companies to the Parent Companies

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Two cases in this district have found that vicarious liability attaches to a
corporation for the intentional acts of its agents under §§1962(c) and (d) only where
the corporation is actually the "central figure " or "aggressor" in the alleged scheme.
See sttrom v. Associated Plastic Fabricators Inc., No. 98 C 134, 98 C 4282,
1999 WL 417848, at *8 (N.D. Ill. June 18, 1999); Aspacher v. Kretz, No. 94 C
6741, 1997 WL 692943, at *12 (N.D. Ill. Aug. 13, 1997). The courts decided those
cases with respect to corporations which were unrelated to the RICO enterprise and
which did not directly benefit from the fraudulent RICO acts or from their
connections with the RICO enterprise. S_ee Nystr_om, 1999 WL 417848; Aspacher,
1997 WL 692943. The Court is not convinced that the reasoning in those cases is
applicable to the circumstances of this case where the relationship of the Parent
Companies and Downstream Affiliates to the RICO enterprise seems to have
facilitated the perpetration of the fraudulent acts and where the Parent Companies
and Downstreaml Affiliates may have directly benefitted from the fraudulent RICO
acts Moreover, whether a corporation acted as an "aggressor" or a "central " figure
in a RICO scheme is a question of fact, which the Court cannot resolve from the

pleadings

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Thus, the Court presently finds that Shapo has sufficiently alleged that the
Parent Companies and the Downstream Affiliates participated in the underlying
fraud in a manner and under circumstances that could subject them to RICO
liability. Consequently, Shapo has stated a claim against the Parent Companies and
Downstream Affiliates, and the Court denies the motion to dismiss the underlying

fraud claims With respect to these entities

2. Certain Former Directors and Officers
a. Dividend Payments
The Group Defendants assert that Shapo does not sufficiently identify any
improper dividend transfers or the parties to those transfers The Court disagrees
Shapo asserts that Engle, Kennedy, Leonard, and the then-serving Director
Defendants caused Coronet to engage in certain transactions involving specified
dollar amounts Shapo sets forth various transfers of cash and assets which he
alleges should have been labeled as "dividends" but were instead paid out as capital
contributions from Coronet to various other affiliates and parent companies Shapo
alleges that certain defendants "disguised" the transfers as "capital contributions"
when they should have been reported as dividend distributions because they were

payments made with cash and other assets of Coronet. According to Shapo, Coronet

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could not have legally pai' ese dividends without approval of Wnois Insurance
Department because of` Coronet’s reduced surplus position and poor operating
results Further, Shapo claims that Coronet’s annual audited financial reports falsely
treated the transfers as investments rather than reporting them as dividends
Shapo has described the fraudulent transfers with enough specificity to allow
adequate responsive pleading. As such, the Court finds that Shapo has met the

requirements of Rules 8(a) and 9(b).

b. Disguised Management Fees

Shapo further claims that Engle, Kennedy, Leonard and the then-serving
Director Defendants caused Sunstates Equities and Pensacola Holding to pay
approximately $6 million to various Parent Companies including Acton/Sunstates,
Telco, and Hickory Furniture, and disguised these payments as "management fees "
when they should have been labeled as "dividends" because the payments were
essentially transfers of cash and assets between the Parent Companies and the these
Downstream Affiliates, Shapo alleges that Sunstates Equities and Pensacola Holding
were not able to pay the management fees without accepting large transfers of cash

and assets from the Insurance Companies, and that basically, the management fees

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were a pretense to simply tr\zifisfer money between the Insurance Companies and the
Parent Companies

Shapo does not attack whether management services were in fact rendered,
rather he takes issue with the transfers made between the Insurance Companies and
Sunstates Equities and Pensacola to pay for the management fees Shapo argues that
these transfers from the Insurance Companies were essentially dividends because
they involved a transfer of cash or assets According to Shapo, the Insurance
Companies were supposed to report these transfers as dividends and would not have
been able to make these dividend payments because of the Insurance Companies’
reduced surplus and poor operating results Moreover, the Insurance Companies
in their annual reports falsely treated these transfers as investments in affiliates
rather than reporting them as dividends

Again, Shapo has described the fraudulent transfers with enough sufficiency
to allow adequate responsive pleading As such, the Court finds that Shapo has met

the requirements of Rules 8(a) and 9(b).

c. Purchase of Securities
The Group Defendants attack Shapo’s allegation that Coronet’s purchase of

securities of various Parent Companies was improper. The Group Defendants

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maintain that Shapo has failed to allege how Coronet was harmed by the purchase

or how the purchases violated any laws However, Shapo asserts that the Insurance
Companies purchased about $3.5 million of poorly performing Parent Company
stock at a time when the Insurance Companies needed money to meet their own
obligations to policyholders and to others According to Shapo such a purchase of
Parent Company stock amounted essentially to a transfer of dividends which would
have been prohibited given Coronet’s poor operating results and because it would
reduce Coronet’s surplus position Shapo seems to adequately claim that the
Insurance Companies suffered damage by diverting large amounts of their cash and
assets into poorly performing stock, yet Engle purposer caused the Insurance
Companies to do so.

Also, Shapo alleges that the Insurance Companies transferred more than $20
million to Sunstate Equities with which Sunstates Equities purchased securities of
the Parent Companies Shapo claims that this transfer was a distribution of
dividends and should have been reported and submitted for approval as such to the
Illinois Insurance Department, which would not have allowed the transfer because
of the Insurance Companies’ reduced surplus and poor operating results Moreover,

Shapo asserts that Coronet neither reported its purchase of securities nor the transfer

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of cash and assets to Sunstate Equities as dividends in its armual report, and falsely
treated the latter as an investment in affiliates
The Court finds that Shapo has set forth sufficient facts to show that Coronet

was harmed by its large purchases of securities of the Parent Companies As such,

Shapo has met the pleading requirements of 8(a) and 9(b).

d. The LaSalle Bank Transaction

The Group Defendants attack Shapo’s claim that a loan from LaSalle Bank
involving Coronet, Sunset Financial, and various Coronet subsidiaries improperly
benefitted Sunset Financial, also a subsidiary of Coronet. Shapo alleges that
Coronet’s subsidiaries pledged valuable assets as security on loan proceeds that were
ultimately used to repay Sunstate Financial’s preexisting financial obligations to
Coronet. As it stands the Court does not see how Coronet was harmed in this
transaction or how Coronet’s assets were further "looted" by this transaction
Further, Shapo fails to specify his basis for claiming that this loan transaction was
improper.

Because this claim is devoid of specific factual allegations showing that
Coronet was defrauded or that the loan Was improper, Shapo fails to meet the

requirements of 8(a) and 9(b), and the Court dismisses this claim.

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e. Luxury Items

Shapo alleges that Between 1993 and 1994, Engle caused Coronet to purchase
certain luxury items for his personal use and also caused Coronet to transfer cash
to Sunstate Equities and Coronet Financial so that they too could purchase luxury
items for Engle. Shapo claims that the valuables, costing at least $2.2 million were
billed to Coronet and mailed and stored at Engle’s personal residence for his
personal use.

The Court finds that Shapo has sufficiently described acts of wrongdoing that
defrauded Coronet of money to enable adequate responsive pleading. Thus, Shapo

has met the requirements of Rules 8(a) and 9(b) with respect to this claim.

f. The 1996 Transactions
The Group Defendants also allege that Shapo’s claim that in November 1996
Engle and the then~serving Director Defendants caused Coronet to surrender $6.4
million in bonds and preferred stock of Sunstates Equities, Sunstates Financial, Alba
Holdings, and RMHC fails to demonstrate any damage to Coronet. Similarly, the
Group Defendants see no harm in the issuance of additional common stock by five

Coronet subsidiaries

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However, Shapo all§és that Engle and the then-serving l)irector Defendants
caused Coronet to surrender the bonds and preferred stock to its subsidiaries while
receiving nothing in return. Instead, Coronet recorded the transactions as
"contributions to the paid-in-capital" to the respective subsidiaries Further, after
making this contribution to its subsidiaries, Coronet lost its total control over these
subsidiaries When Engle and his Control Group caused these subsidiaries to issue
additional common stock in their companies to the Parent Companies. In this way,
Shapo claims, Engle and his Control Group damaged Coronet by diverting assets
and control away from Coronet. In executing these transactions, Shapo alleges that
the RICO defendants used the mails, faxes, and conducted board meetings over the
telephone.

Shapo sufficiently alleges damage and provides adequate facts describing the

purported fraud. ' As such, this claim meets the requirements of Rules 8(a) and 9(b).

_ g. The Spring Lots Transactions
Shapo alleges that Engle and his Control Group caused Springs, Inc., a
wholly-owned subsidiary of Coronet, to transfer real estate valued at about $4.8
million to Sunstates Realty and Sew Simple for approximater $2.5 million.

Apparently, Shapo contends that this transaction involving a Coronet subsidiary and

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two Downstream Affiliates somehow defrauded Coronet. Without more, however,
the Court fails to see how this allegation supports a claim that Engle and his Control

Group defrauded the Insurance Companies. Consequently, this claim cannot stand.

B. Predicate Acts of Mail Fraud

The Group Defendants argue that none of the misconduct constitutes predicate
acts of mail or wire fraud. In order to allege predicate acts of mail and wire fraud,
18 U.S.C. §§1341, 1343, the claimant need not allege that the false representations
were sent through the U.S. mails or made through the use of interstate Wires. S_ee
P&P Marketing, 746 F. Supp. at 1362. The claimant need only allege a scheme to
defraud coupled with a mailing or use of interstate Wires in furtherance of the
scheme. w i_d. Moreover, the use of the mails or interstate wires does not have
to be an essential element of the scheme. §e_e Schmuck v. U.S. , 489 U.S. 705, 709,
103 L.Ed.2d 734, 109 S.Ct. 144`3, 1448 (1989). It is sufficient for the mailing or
use of interstate wires to be "incident to an essential part of the scheme, or a step
in the plot." E.

Shapo has sufficiently alleged a scheme to defraud, in which Engle and his
Control Group, which includes Kennedy, Leonard, Friedman, and the Director

Defendants during the times coinciding with their association with the Insurance

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Companies, looted money from the Insurance Companies through various fraudulent

transfers and transactions. Shapo also provides that these defendants mailed or
faxed letters and memos to various people associated with the Insurance Companies
in executing their scheme and conducted some of their meetings in which they
discussed their scheme over the telephone. Further, Shapo claims that in order to
cover up these fraudulent transfers and transactions, Engle and his Control Group
mailed fraudulent reports concerning the Insurance Companies to the Illinois
Department of Insurance and to other states in Which the Insurance Companies were
registered. Also, Shapo claims that various luxury items and their bills were
delivered to Engle through the mail and paid for with money from Coronet.
According to Shapo, Engle and his Control Group executed many of the transfers
of money from Coronet to its Downstream affiliates or Parent Companies through
the wires. n

The Court is satisfied that Shapo has provided enough specificity about the
alleged mail and wire frauds to survive a motion to dismiss. Shapo’s third amended
complaint illustrates with sufficient specificity the fraudulent misrepresentations
allegedly made in annual reports sent through the mails, the luxury items purchased
to defraud Coronet, which were delivered through the mails, and the alleged scheme

discussed in letters and memos sent through the mails or by fax and in telephone

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conversations between Engle and his Control Group and various other people in the
Parent Companies and Downstream Affiliates, Thus, Shapo has sufficiently alleged
a pattern of racketeering activity, and the Court denies the Group Defendants motion

to dismiss on this basis.

C. RICO Conspiracy

The Group Defendants claim that Shapo has failed to allege a RICO
conspiracy under §1962(d) because Shapo has not claimed that each defendant made
a "specific agreement to participate in the affairs of the enterprise" or "an
agreement to the commission of two specific predicate acts. "

Section l962(d) provides, "It shall be unlawful for any person to conspire to
violate any of the provisions of subsections (a), (b), or (c) of this section." 18
U.S.C. §1962(d). Section l962(d) is not a substantive RICO offense, but instead
§1962(d) merely makes it illegal to conspire to commit a substantive RICO offense.
§_e_e MCM Partners. Inc. v. Andrews-Bartlett & Associates. Inc. , 62 F.3d 967, 979
(7th Cir. 1995). To claim a conspiracy to violate §1962(c), Shapo must allege that
each defendant agreed to conduct or participate in the affairs of an enterprise
through a pattern of racketeering activity and that each agreed that someone would

commit at least two predicate acts on behalf of the conspiracy. ga i_d_. at 980. The

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defendants need not have agreed "to actually commit the predicate acts itself or even
to participate in the commission of those acts so long as they agree that the acts

would be committed on behalf of the conspiracy. " I_d_.; see also William Electronics

 

 

Games. Inc. v. Barr_v, 42 F. Supp.2d 785, 795 (N.D. Ill. 1999). Shapo’s third
amended complaint clearly sets forth allegations that Engle and his Control Group,
which includes Engle, Kennedy, Leonard, Friedman, and the Director Defendants
during the times coinciding with their association with the Insurance Companies,
acted in agreement in making transfers of cash and assets from Coronet to the Parent
Companies and Downstream Affiliates and in covering up their acts by using the
mails and wires. These allegations are sufficient to allege a conspiracy involving

Engle and his Control Group, M Williams Electronics Games, 42 F. Supp.2d at

 

795. At this point, these allegations are also sufficient to allege a conspiracy
involving the Parent Companies as the Parent Companies are alleged to have had an
active role through their agents in participating in an agreement to defraud the

Insurance Companies. §§ supra II.A.I.

D. Viable RICO Enterprise and McCarran-Ferguson Preemption
The Group Defendants make the same allegations as Engle in his individual

motion to dismiss regarding the absence of a viable RICO enterprise and the

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McCarran-Ferguson Act’s preemption of RICO claims For the same reasons that

the Court denied Engle’s motion on these bases, the Court denies the Group

Defendants’ motion.

E. Damages

The Group Defendants move to dismiss Shapo’s RICO claims, alleging that
Shapo has failed to allege any damages to the Insurance Companies

In order to maintain a RICO claim, a claimant must allege injury to his
business or property by reason of a RICO violation. §§ Esposito v. Soskin, 11 F.
Supp.2d 976, 978 (N.D. Ill. 1998). Moreover, the claimant need not allege some
additional " racketeering injury " above the injuries resulting from the predicate acts
of racketeering themselves See Harocoi Inc. v. American Nat’l Bank and Trust
Co. of Chicago, 747 F.2d 384, 398 (7th Cir. 1984). Shapo has sufficiently alleged
damages by stating that the Insurance Companies "were injured in their business and
property in an amount in excess of $70 million. "

However, the Group Defendants argue that this fails to satisfy the damages
requirement because certain provisions of the Illinois Insurance Code under which
Shapo is acting limit the amount Shapo can recover on behalf of the Insurance

Companies However, that Shapo may be limited in the amount he can recover

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under some state statutes§dg:es not demonstrate that he has not asserted that the
Insurance Companies were damaged by RICO violations Further, the Group
` Defendants fail to demonstrate that Shapo is precluded from pursuing a claim under
RICO because of some rule or law limiting Shapo’s damages Section 131.25(a)
may limit the amount recoverable for actions thereunder, but sections 193(3) and
205 have no similar limiting cap. The Group Defendants have not shown that some
damages limitation of the Illinois Insurance Code precludes a liquidator from seeking
RICO awards
Because Shapo has sufficiently alleged that the Insurance Companies were
injured in their business and property because of the alleged RICO violations, the

Court denies the Group Defendants’ motion to dismiss on this basis.

F. Pendant State Claims

The Group Defendants move to dismiss Shapo’s pendant state claims set out
in Counts III, VI, and VIII-XII for failure to state a claim. In evaluating the
adequacy of Shapo’s pendant state claims, the Court applies the Federal Rules of
Civil Procedure, which do not require fact pleading but merely require that a claim

provide adequate notice to the defendant of the nature of the claim against it so that

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discovery can proceed. §§jKelly v. Stratton, 552 F. Supp. 641, 648-49 (N.D. Ill.

1982).

1. Count III-Breach of Fiduciary Duty and Count VI-Aiding
and Abetting a Breach of Fiduciary Duty

Shapo has sufficiently alleged a claim for breach of fiduciary duty and for
aiding and abetting a breach of fiduciary duty, By stating that Engle and the
Director Defendants owed a fiduciary duty as directors of the Insurance Companies
to the Insurance Companies and that they subsequently breached that duty through
their looting of the Insurance Companies, which damaged the Insurance Companies,
Shapo has adequately stated a claim for breach of fiduciary duty, which notifies the
defendants of the nature of the claim against them. S_ee Technic Engineering, Ltd.

v. Basic Envirotech Inc., 53 F. Supp. 2d 1007, 1010 (N.D. Ill. 1999) (Illinois has

 

long recognized that corporate officers and directors occupy a fiduciary relationship
towards their corporation).

Although it seems that at one point Illinois did not recognize a tort of aiding
and abetting a-breach of fiduciary duty, it appears that such a claim is now viable.
See Reuben H. Donnelley Corp. v. Brauer, 275 Ill. App. 3d 300, 310, 211 Ill. Dec.

779, 787-88, 655 N.E.2d 1162, 1170-71 (Ill. Ct. App. 1995). Shapo claims that

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Kennedy, Leonard, and j` ,. Director Defendants participated i' nd facilitated

Engle’s breach of fiducia\r; duty by approving, executing, and assisting in the
various transactions and transfers of cash and assets out of the Insurance Companies,
which resulted in damage to the Insurance Companies This is sufficient to state a
claim for aiding and abetting a breach of fiduciary duty with respect to the Director
Defendants, but not with respect to Kennedy and Leonard. §e_e i_d. In order to state
a claim for aiding and abetting a breach of fiduciary duty, the claimant must allege
not only that a defendant facilitated an underlying tortious act against a third party
by another, but ` that the defendant’s substantial assistance in accomplishing the
tortious result itself constitutes a breach of duty to that third person. S_ee i_d. Shapo
has not done this with respect to Kennedy and Leonard, but Shapo has accomplished
this with respect to the Director Defendants with his allegations for breach of

fiduciary duty in Count III.

2. Civil Conspiracy-Count VIII
Shapo alleges that Engle, Kennedy, Leonard, the Downstream Affiliates, and
the Director Defendants agreed and combined for the purpose of accomplishing by
concerted action violations of the Illinois Insurance Code, including the Illinois
Insurance Holding Company Systems Act. With this allegation Shapo has stated a

claim for civil conspiracy, which merely requires an allegation of an "agreement or

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a combination of two or more people or entities to do an unlawful act or to do a

lawful act by unlawful means " Small v. Sussman, 306 Ill. App. 3d 639, 239 Ill.

 

Dec. 366, 713 N.E.Zd 1216, 1221 (Ill. Ct. App. 1999).

3. Violation of the Corrective Orders and the Holding Company
Systems Act-Count IX

The Group Defendants argue that Shapo has failed to state a claim in Count
IX because neither a violation of the corrective orders or a violation of the Holding
Company Systems Act, 215 ILL. COMP. STAT. ANN. 5/ 131 e_tLL, provides Shapo
with a private right of action. Shapo contends that even if the two provisions do not
explicitly provide him with a private right of action, §§193 and 401 of the Illinois
Insurance Code allow Shapo to bring suit in his capacity as liquidator and director
of insurance. Further, Shapo argues that even where there is no explicit private
cause of action, Illinois courts have "continually demonstrated a willingness to imply
a private remedy where there exists a clear need to effectuate the purpose of an act. "

Venzor v. Gonzalez, 936 F. Supp. 445, 454 (N.D. Ill. 1996).

 

Shapo has properly alleged violations of the corrective order and the Illinois

Holding Company Systems Act. Moreover, it seems that such violations would give

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ShaPO a rlght of action. .Consequently, at this time, the Court will not dismiss this

claim.

4. Declaratory Judgment-Count X

The Group Defendants argue that Shapo fails to state a claim for declaratory
relief. The Court agrees Shapo merely asserts the various percentages of certain
subsidiaries the Insurance Companies should own, and then states the various
percentages of the same subsidiaries Defendants Acton/Sunstates, Sunstate.Equities,
Sunstates Financial, Sew Simple, Wellco Holdings RMHC, and Alba Holdings have
asserted the Insurance Companies own. Then Shapo requests the Court to declare
that the Insurance Companies own the percentages that he asserts However, this
does not state a claim for declaratory judgment See AG Farms. Inc. v. American
Premier Underwriters. Inc., 296 Ill. App. 3d 684, 231 Ill. Dec. 109, 114, 695
N.E.2d 882, 887 (Ill. Ct. App. 1998). Shapo has failed to allege an actual
controversy regarding the ownership percentages In fact, his factual allegations
belie the existence of a controversy regarding the ownership percentages He
asserts that the various subsidiaries issued additional common stock and that the
Insurance Companies’ shares in each were reduced to the amounts alleged by

Acton/Sunstates, et al. Shapo alleges no controversy regarding the share

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percentages Rather, Shapo takes issue with the resulting diminution of the

Insurance Companies’ control in these subsidiaries This is insufficient to state a

claim for declaratory judgment on this issue. _S_@ i_d.

5. Accounting-Count XI

Shapo argues that the Insurance Companies are entitled to an accounting from
Sunstates Equity, Sunstates Financial, RMHC, Wellco Holdings and Alba Holdings
as a shareholder of each of these companies However, being a mere shareholder
of a company does create an entitlement to an accounting Shapo must allege an
absence of remedy at law and one of the following: (1) a breach of fiduciary
relationship between the parties; (2) a need for discovery; (3) fraud; (4) the
existence of mutual accounts which are of a complex nature. S_ee Hartigan'v. Candy
QM)_, 149 Ill. App. 3d 498, 501, 103111. Dec. 167, 169, 501 N.E.2d 188, 190 (Ill.
Ct. App. 1986). An exception exists if the claimant alleges a breach of fiduciary
duty such that an accounting may be ordered without alleging an absence of an
adequate remedy at law. -Nevertheless, Shapo fails to allege any breach of fiduciary
duty by any of the subsidiaries in his third amended complaint, and fails to
alternatively allege an inadequate remedy at law in conjunction with a need for

discovery. M i_d. Thus, Shapo has failed to state a claim for accounting.

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6. violation '* § s(a)(i) of the Uniform Frau§jat Transfer
Act-Count '

The Group Defendants claim that 1996 Transactions do not come under the
Uniform Fraudulent Transfer Act, 740 ILL. COMP. STAT. ANN. 160/1 et_se_cL, and
that Shapo has not met the 9(b) pleading requirements for this claim.

Under Uniform Fraudulent Transfer Act, a transfer is fraudulent as to a
creditor if the debtor made the transfer with actual intent to hinder, delay, or defraud
any creditor of the debtor. ge 740 ILL. COMP. STAT. ANN. 160/5(a); Kennedy v.
Four Bovs Labor Service. Inc., 279 Ill. App. 3d 361, 369, 216 ill. Dec. 160, 165,
664 N.E.2d 1088, 1093 (Ill. Ct. App. 1996). A "transfer" includes "every mode,
direct or indirect, absolute or conditional, voluntary or involuntary, of disposing of
or parting with an asset or an interest in an asset, and includes payment of money,
release, lease, and creation of a lien or other encumbrance. " 740 ILL. COMP. STAT.
ANN. 160/2(1). Under such a definition Coronet’s surrender of $6.4 million in
bonds and preferred stock of certain subsidiaries would qualify as a transfer.
However, the issuance of additional common stock by these subsidiaries cannot be
viewed as a transfer. Although the issuance of additional stock reduced the
Insurance Companies’ overall interest in these subsidiaries it cannot be said that the
Insurance Companies disposed of or parted with shares they held or with an interest
in shares they held.

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With respect to th€\jJSA million surrender in bonds t\_/»pfeferred stock,
Shapo has state his claim with sufficient particularity. Shapo alleges that in
November 1996, Engle and the then-serving Director Defendants caused Coronet
to surrender $6,427,296.25 in bonds and preferred stock of Sunstates Equities,
Sunstates Financial, Alba Holdings and RMHC. Shapo further claims that Coronet
received nothing_in return, did not report the transaction to insurance regulators, and
instead treated the transaction as capital contributions This is sufficient to meet the

requirements of Rule 9(b).

G. Personal Jurisdiction

Finally, the Group Defendants argue that the Court lacks personal jurisdiction
over Albritton, Kennedy, and Leonard because as non-residents of Illinois they are
protected by the fiduciary shield doctrine. This argument is without merit.

The fiduciary shield doctrine is a limitation on the reach of Illinois’ long-arm
statute. §e_e Ace Novelty Co.. Inc. v. Viiuk Equinment. Inc., No. 90 C 3116, 1991
WL 150191, at *5 (N.D. Ill. July 31, 1991). lt protects a non-resident from being
haled into court iii Illinois when that person’s only contact with Illinois occurred in
the course of working on behalf of that person’s corporation, _Ig. However, this
defense to personal jurisdiction is unavailable to high-ranking corporate officers
because individuals in these positions have a "direct financial stake in the company’s

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health and therefore can b;sfibjected to personal jurisdiction f§r/ac;ons that result
in both personal and corporate benefit." Margu_lis v. Medical Parts Int’l. Inc.,
No. 98 C 0714, 1999 WL 183648, at *5 (N.D. Ill. Mar. 25, 1999). Further, to
avoid application of the doctrine all complainant needs to do is allege in good faith
that the performed acts advanced personal interests rather than the corporation’s
interests §§ Torco Oil Co. v. Innovative Thermal Corp., 730 F. Supp. 126, 135
(N.D. Ill. 1989).

Because Albritton, Kennedy, and Leonard are all high-ranking officers they
cannot avail themselves of the doctrine. Moreover, Shapo maintains in- his third
amended complaint that these three defendants acted for their own benefit.

Consequently, the Court will not apply the fiduciary shield doctrine.

CONCLUSION
For the reasons set forth above, the Court: (1) denies that part of Engle’s
motion to dismiss Counts I and II, which argued that Coronet is not a proper
enterprise, but grants that part of Engle’s motion, Which argued that Acton/Sunstates
and the Association-In-Fact Were not proper enterprises (2) denies Engle’s motion

to dismiss which argued that the McCarran-Ferguson Act precluded the application

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of RICO to this action; (?i)j denies the Group Defendants’ motion to dismiss the

underlying fraud claims of the RICO counts except that the Court grants the Group
Defendants’ motion to dismiss as it relates to the LaSalle Bank Loan and the Spring
Lots transaction; (4) denies the Group Defendants’ motion to dismiss which claimed
that Shapo failed to allege predicate acts a conspiracy, a proper enterprise, or
damages and that the McCarran-Ferguson Act preempted Shapo’s RICO claims;
(5) denies the Group Defendants’ motion to dismiss Counts III, Vl, VIII, and IX,
except the Court grants the Group Defendants’ motion to dismiss Count VI_ as it
relates to Kennedy and Leonard; (6) grants the Group Defendants’ motion to dismiss
Counts X and XI; (7) denies that part of the Group Defendants’ motion to dismiss
Count XII as it relates to the $6.4 million Coronet bond and stock transfer, but
grants the motion as it relates to the subsidiaries’ issuance of additional common
stock; and (8) denies the Group Defendants’ motion to dismiss with respect to

Albritton, Kennedy, and Leonard for lack of personal jurisdiction.

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Charles P. Kocoras
United States District Judge

 

Dated: November 10. 1999

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